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                                           8   Attorneys for Debtor

                                           9

                                          10                            UNITED STATES BANKRUPTCY COURT
                                                                               DISTRICT OF NEVADA
                                          11
                                               In re:                                               Case No. 22-14616-nmc
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                                                                                    Chapter 7
                                          13   ROBIN LINUS LEHNER and
                                               DONYA TINA LEHNER,
       LARSON & ZIRZOW, LLC

        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14
                                                                      Debtors.
                                          15

                                          16            STIPULATION FOR LIMITED RELIEF FROM THE AUTOMATIC STAY
                                          17            IN FAVOR OF BLACK KNIGHT SPORTS AND ENTERTAINMENT LLC
                                                            D/B/A VEGAS GOLDEN KNIGHTS, TO EFFECTUATE SETOFF
                                          18
                                                        Debtor, Robin Linus Lehner (“Mr. Lehner”), Black Knight Sports and Entertainment
                                          19
                                               LLC d/b/a Vegas Golden Knights (the “Club”), and Robert Atkinson, in his capacity as chapter 7
                                          20
                                               trustee in the above-referenced bankruptcy case (the “Chapter 7 Trustee” and together with the
                                          21
                                               Debtors and the Club, the “Parties”), by and through their respective undersigned counsel,
                                          22
                                               hereby stipulate and agree (the “Stipulation”) as follows:
                                          23
                                                        1.    On or about October 2, 2020, Mr. Lehner and the Club entered into a National
                                          24
                                               Hockey League Player’s Contract, and related Addendum (the “NHL Contract”) for a term of
                                          25
                                               five (5) League Years (as defined therein) commencing on or about July 1, 2020.
                                          26
                                                        2.    On December 30, 2022 (the “Petition Date”), Mr. Lehner and his wife filed their
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                                               voluntary petition for relief under chapter 7 of the Bankruptcy Code, thereby commencing their
                                          28
                                               bankruptcy case (the “Chapter 7 Case”), and the Chapter 7 Trustee was appointed in the case.
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                                           1             3.    The NHL Contract remained in effect as of the Petition Date, and there are certain
                                           2
                                           2   future rights and future obligations under that agreement, including without limitation, a right to
                                           3
                                           3   payment for post-petition services in favor of Mr. Lehner, but subject to all terms and conditions
                                           4
                                           4   therein.
                                           5
                                           5             4.    On January 17, 2023, the Chapter 7 Trustee filed an application to abandon any
                                           6
                                           6   interest of the bankruptcy estate in and to the NHL Contract, subject to certain limitations as set
                                           7
                                           7   forth therein to non-exempt compensation owing to Mr. Lehner as of the Petition Date [ECF No.
                                           8
                                           8   22], however, as of the date of this Stipulation, the time for approval of that application has not
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                                           9   passed, and thus Mr. Lehner includes the Chapter 7 Trustee as a signatory to this Stipulation, and
                                          10
                                          10   out of an abundance of caution, and merely for the purpose of confirming that he has no
                                          11
                                          11   objection to the limited stay relief requested herein.
                                          12
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                                          12             5.    The Club has advised that there is a pre-petition obligation owing to it by Mr.
                                          13
                                               Lehner related to his use of a rental car with the Club’s credit card in the amount of $4,220.31
       LARSON & ZIRZOW, LLC




                                          13
        Las Vegas, Nevada 89101




                                          14
          850 E. Bonneville Ave.




                                          14   (the “Rental Obligation”), which remained outstanding as of the Petition Date, and which it
                                          15
                                          15   would like to setoff against its future payments to him under the NHL Contract.
                                          16
                                          16             6.    The Parties agree that the Club may be granted limited relief from the automatic
                                          17
                                          17   stay pursuant to 11 U.S.C. § 362 and for the sole and exclusive purpose of allowing it to
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                                          18   effectuate a setoff of the Rental Obligation against any future payments due Mr. Lehner under
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                                          19   the NHL Contract.
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                                          20             7.    Nothing herein is intended or should be construed as altering or amending any
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                                          21   other rights or remedies either Mr. Lehner or the Club have in and to the NHL Contract, which
                                          22
                                          22   remains in full force and effect without change, and the parties reserve all rights in that regard.
                                          23
                                          23             NOW, THEREFORE, the Parties request that the Court enter the proposed Order
                                          24
                                          24   attached hereto as Exhibit 1, thereby approving this Stipulation and the relief requested herein.
                                          25
                                          25   The Parties also request relief from any stay of the effectiveness of this Order pursuant to Fed. R.
                                          26
                                          26   Bankr. P. 4001(a)(3), such that the Order shall be effective immediately upon its entry on the
                                          27
                                          27   docket.
                                          28
                                          28   ...


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                                           1          Dated: January ___, 2023.
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                                           2
                                           3   APPROVED:                                       APPROVED:
                                           3
                                           4   By:    /s/ Matthew C. Zirzow                    By:    /s/ Charles A. Seigel
                                           4   LARSON & ZIRZOW, LLC                            Charles A. Seigel III, Esq.,
                                           5   ZACHARIAH LARSON, ESQ.                          Chief Legal Officer
                                           5   Nevada Bar No. 7787                             Vegas Golden Knights
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                                               MATTHEW C. ZIRZOW, ESQ.                         1701 Village Center Cir.
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                                           8
                                           9
                                               Attorneys for Debtor                            Attorneys for Black Knight Sports
                                           9                                                   and Entertainment LLC,
                                          10
                                          10                                                   d/b/a Vegas Golden Knights
                                          11
                                          11
                                          12   APPROVED:
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                                          12
                                          13
                                               By:     /s/ Robert E. Atkinson
       LARSON & ZIRZOW, LLC




                                          13
        Las Vegas, Nevada 89101




                                          14   ROBERT E. ATKINSON
          850 E. Bonneville Ave.




                                          14   CHAPTER 7 BANKRUPTCY TRUSTEE
                                          15   376 E. Warm Springs Rd., Suite 130
                                          15   Las Vegas, NV 89119
                                          16   Tel: (702) 617-3200
                                          16   Email: Robert@ch7.vegas
                                          17
                                          17   Chapter 7 Trustee
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